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               EXHIBIT G
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                                       COUNTY OF MORRIS
                           OFFICE OF PLANNING & PRESERVATION
Board of County Commissioners                                                                          County Administrator
Commissioner Director                               P.O. Box 900                                               John Bonanni
Tayfun Selen                              Morristown, New Jersey 07963-0900                          Assistant Administrator
Commissioner Deputy Director                                                                                    Deena Leary
John Krickus
                                                                                                            Planning Director
Douglas R. Cabana                                                                                               Joseph Barilla
Kathryn A. DeFillippo                                                                                           973-829-8120
Thomas J. Mastrangelo                                                                                jbarilla@co.morris.nj.us
Stephen H. Shaw
Deborah Smith


March 3, 2022

Ms. Elaine R. Warren, President, Board of Trustees
Mendham United Methodist Church
10 East Main Street
Mendham, NJ 07945

RE: Morris County Historic Preservation Trust Fund

Dear Ms. Warren,

Your Declaration of Intent submitted on February 28, 2022 indicates that the proposed grant application involves
the principle church building that is currently used for religious purposes. As this building is currently used for
religious purposes or functions, it is ineligible for Historic Preservation grant funding, per our Rules,
https://www.morriscountynj.gov/files/sharedassets/public/departments/planning-amp-preservation-
historic/chapter-5-historic-preservation.pdf, section 5.6.4.

Sincerely,



Ray Chang, P.P.
Historic Preservation
Program Coordinator

cc.    Joseph Barilla, Morris County Planning Director




        Office located at: 30 Schuyler Place (Morris County Administration – Schuyler Annex), 4th floor, Morristown, NJ
